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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS
__________________________________________
                                           )
UNITED STATES OF AMERICA,                  )
                                           )
                  v.                       )
                                           ) Criminal No: 16-10343-ADB
SUNRISE LEE                                )
                  Defendant.               )
__________________________________________)

                       EMERGEMNCY MOTION FOR EXTRAORDINARY RELIEF
                             FROM ONGOING EXPENSE OF TRIAL

           NOW COMES Defendant Sunrise Lee, (“Lee”), though counsel, and hereby moves this

Honorable Court for permission to travel home to Grand Rapids, Michigan for the duration of the

trial and jury deliberations and to receive the jury verdict by video conferencing in the U.S.

District Court for the Western District of Michigan in Grand Rapids. In support thereof, counsel

states the following:

           1. Lee has been in the jurisdiction of this Court since January 21, 2019, immediately

               prior to the commencement of jury selection on January 22, 2019.1

           2. The ongoing cost of continuing to maintain a hotel residence within 10 minutes of the

               courthouse during the week has become a financial hardship.

           3. The cost of Seaport hotels has risen by hundreds of dollars in the past week as the

               Spring and college graduation season progresses.2

           4. Lee can no longer afford pay for a hotel room.




1
    Lee has traveled home on infrequent weekends to spend time with her two children.
2
    Lee spent the weekend in Salem, MA because that was the nearest affordable hotel she could find.

                                                         1
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5. Upon information and belief, this Court previously permitted Lee to appear by video

   conferencing at the U.S. District Court for the Western District of Michigan in Grand

   Rapids on a matter relating to her selection of counsel.

6. Lee lives approximately 20 minutes from the federal courthouse in Grand Rapids.

7. Lee agrees to be in the courthouse in Grand Rapids within 20 minutes of receiving

   notice that there is a verdict.

8. Lee defers to counsel on all matters relating to questions by the jury and will

   nonetheless remain available at all times for consultation with counsel.

9. Lee’s oldest son will graduate high school on May 23, 2019, and she would normally

   participate in the events leading up to this milestone.

10. Lee’s youngest son is 10 and is enduring the stress of her continued absence.

11. The Government has indicated its opposition to the instant motion.

12. Lee is amenable to any solutions the Court may entertain.

WHEREFORE, this Honorable Court is respectfully urged to grant the relief requested.

                                      Respectfully submitted,



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                                      Attorney for Defendant Sunrise Lee




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                        CERTIFICATE OF SERVICE

I, Peter Charles Horstmann, certify that I have caused a copy of this Memorandum to be
served through the ECF system on AUSAs Nathaniel Yeager, David Lazaras and Fred
Wyshack, United States Attorneys Office, One Courthouse Way, Boston, MA
02210, on April 24, 2019.




                                    Peter Charles Horstmann, Esquire




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